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Moderator (00:00:01):
Let me go ahead and get started here. Here's our contact information. I'll bring that back up again at the
end. If you want to email us, concernedparentsnixa@hotmail.com and then you can find us on Facebook
too, which I'm guessing everybody probably already have. Things that we've tackled in Nixa so far, Nixa
has a stellar reputation for their education, which I don't have to tell anybody. I'm sure that's probably
why most parents have moved here or why you stay in Nixa. Here's a couple things that we have
addressed so far, and I just kind of go over them because I really want to get into the library issues. I
don't want to linger too much on the rest, but we had an issue with culturally responsive instruction that
was last April, that was introduced. They wanted to bring that in. I'll talk a little bit more about that in a
minute. Mask mandates, and then of course, pornography and political agendas in the libraries.

Moderator (00:01:05):
The culturally responsive instruction, they've already done phase one of this instruction. That was the
administrators. Phase Two was to go to the teachers. In the April school board meeting, this was
proposed by a handful administrators to the board. It would be a training that would propose for the
teachers to align it with their curriculums. In that, when I started researching it, I reached out to the
school and said, "What is this training? Can I see it?" They said, "No. I'm sorry you're not able to see the
training," which is kind of crazy because the only reason you train teachers is so they can pass it on to
their students and use it in the classrooms.

Female (00:01:54):
Exactly.

Moderator (00:01:56):
Anyway, you have to acknowledge implicit biases for teachers, that's what they have to do. There is
tremendous focus on equity, and then it classifies education as systemically racist, uses restorative
justice in place of traditional discipline, which you may, parents, the reset rooms where kids go now,
that's part of the that. That's the beginning stages of restorative justice. Then also of course, I found
many articles that were saying that it was high, [inaudible 00:02:38]. So it wasn't going on the
curriculum, but it was going to align with it, and it did relate directly to it.

Moderator (00:02:52):
Anyway, because of public outcry, we were able to get the word out. The school district backed away
and said, "We're not going to do that. That's not who we are." Then, they actually made a public
statement and said, "We are not going to teach by the 1619 Project. There are no secret agendas.
There's nothing going on. Everything is as it was." At that point, all you can say is, "Okay. We're going to
trust them, but we're going to just see how things go for now. We're going to be very [inaudible
00:03:19]."

Moderator (00:03:19):
The mask mandate issue came along in August. There was a vote on it because parents again were
sharing their voice with the district. They went ahead to do the survey. Two-thirds of parents actually
did not want their kids masked. They were actually, in the questionnaire, asked if parents wanted to, or
they would take their kids out of school if masking was implemented. It shows that they definitely were
picking up a lot of frustration from parents. We were successful with that five-two in favor of optional


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masking. The two that voted against the optional masking were Mike [Copeland 00:04:01] and Heather
[Zoberoski 00:04:02].

Moderator (00:04:02):
Then, right about that time, not long after that, I got in touch with a mom and she was telling me about
a Book Club Reading List, and that it was really bother in her. In this book, it's called White Bird: A
Wonder Story and although I have heard that it is a heartwarming tale, it's good story, but at the end of
the book, there is a page. It's a graphic novel and at the end, the grandmother who's telling her story
how she survived the Holocaust, and then she sees articles in the newspaper of Donald Trump's
immigration policy. So she says and I'm paraphrasing here, but it was like, "Oh, no. Not again. This can't
be happening."

Moderator (00:05:00):
The idea was that they were making the connection between detaining illegal immigrants at the border
and putting people into the Nazi concentration camps. So, if you're a fourth grader reading that what's
going to be your impression, especially if you are in a house that is void of any political discussions, they
have no idea what to think on that. The author did an interview and said she wanted activism. She
wanted to trigger activism in young people. That was her goal. Here just a quote from her, I'm just going
to read the part that's highlighted, but she said, "It troubled me deeply because I did see the
connections between where we are now in this country and the way people are being treated in camps
on our own borders." Again, she was connecting those camps with concentration camps.

Moderator (00:05:59):
Ghost Voice, this was a recommended reading in the junior high, seventh grade English class. This book
has been disputed across the country. There's a story here of the 1955 murder of Emmett Till and it
compares it to a fictional shooting. It's got a tremendously strong anti-police message. If you want, I
have excerpts from the book that are on the table here. If you guys can kind of take a look at the things
that I was seeing in the book and other parents have seen. Oh, to the back. Okay, even better.

Moderator (00:06:41):
Then, in the book there it provides links to well-known Marxist organizations. There's misleading
statistics about the police. And with the parents showed this issue to the principal. It was kind of
dismissed and brushed over. It went up to the administration further up. Again, it really wasn't
addressed. It was just a non-issue. Finally, she did hear back from the teacher, but no apologies, no
admission of wrongdoing in any of this.

Moderator (00:07:21):
That book is still at the library and there's still [inaudible 00:07:25] I've read it based on the
recommendation. We thought, well, if this is here, what else is there? Let's have a comprehensive idea
of what's going on before we go and address the administrators as a group. We did a deep dive into the
library database. We found a public link for the library database and started looking. We thought, where
do we go from here? We went off some known books that are problematic across the country and
surprisingly, they're here. We have a few that are in the junior high. We did actually in our works, I just
cut it over here. The [inaudible 00:08:07] that were removed. We had stamped and wet leg. Basically
because the bias in there was so strong and it just really, the librarian agreed that it really wasn't
appropriate.

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Moderator (00:08:21):
These are [crosstalk 00:08:28].

Female (00:08:28):
[crosstalk 00:08:28] offensive.

Moderator (00:08:29):
And some of these are dealing with CRT, but a lot of them, the vast majority really are pornographic. I
would say, if they're not pornographic, highly sexualized. But the most of them, the definitions of
pornography, they certainly need them.

Female (00:08:53):
I read [inaudible 00:08:54] when I was a kid. I loved that book.

Moderator (00:08:57):
That's just the statutes here of what we're looking at. By definition, most of what we found doesn't put
the definition for pornography. And then also, it fits into furnishing pornographic materials to minors.
And then, maybe even child pornography in some of these, because the situations depicted in the books
do involve children. It's fictional, but they do involve minors. Over 35 books in the Nixa junior high and
high school together, again, are dealing with those issues; pornography, CRT, and political agendas.

Moderator (00:09:43):
This one was one of the first ones that we came across and it was just absolutely stunning. Out of
Darkness by Ashley Hope Pérez, I don't know why, and we've got a copy back there. Then, I have flyers
for you guys to take home. I have a little excerpt from this. I'm going to just go ahead and read this little
excerpt because ...

Female (00:10:06):
[inaudible 00:10:06].

Moderator (00:10:06):
Yes, yes. That'd be great. Here we are. We're dealing with rape, incest, graphic violence, and explicit
sexual imagery. Here is just a quick excerpt from this. It says, "He lifted her hand to his mouth and licked
it. Then, he lowered her hand down and closed it around the hardness. His hand moved hers. She
watched her hand moved back and forth like it didn't belong to her."

Female (00:10:36):
That's high school age?

Moderator (00:10:40):
That's high school.

Male (00:10:44):
By the way, that book is in middle schools in the state of Missouri.

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Female (00:10:45):
In middle schools?

Male (00:10:49):
In middle schools.

Female (00:10:49):
And wasn't that with a minor?

Moderator (00:10:50):
Yes, yes, yes. With a minor.

Female (00:10:52):
With a minor.

Moderator (00:10:55):
And the daughter that she's abused by her stepfather sexually and raped, and then there's murder. You
name it. It's got it all.

Female (00:11:04):
What did this school say about that when you brought it up?

Moderator (00:11:06):
They kept it. Yes, they kept it.

Female (00:11:09):
What happens at the end of the book? Does she realize that it wasn't her fault? Is that more the
message?

Female (00:11:16):
Does it matter?

Female (00:11:16):
Yes, it does.

Male (00:11:17):
Why does that matter?

Female (00:11:18):
Why does that matter?

Female (00:11:18):
Because there's kids-

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Female (00:11:19):
They already read that part of the book.

Female (00:11:20):
Okay. We want to start-

Male (00:11:20):
No, no. I'm asking genuinely. Why does it matter?

Female (00:11:24):
Because kids do experience abuse like that. When they need to know it-

Male (00:11:28):
Why do my kids need to know about that?

Female (00:11:29):
They don't.

Female (00:11:31):
They don't need to. Your kids aren't going to be forced to read that book if they don't want to read it.

Female (00:11:33):
No one's forced to read these books.

Female (00:11:34):
That's the choice in it, is that a child could read that and say like, "Oh, my gosh. That out was also
happening to me," and go from there.

Moderator (00:11:42):
If you want to go back to cover of it, the cover doesn't give you any indication that's in the book.

Female (00:11:47):
But you as a parent can restrict your child from reading that.

Female (00:11:52):
No, we cannot.

Female (00:11:52):
No, we cannot.

Female (00:11:52):
No, we can't.



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Moderator (00:11:52):
Okay.

Female (00:11:55):
We're not trying to have confrontations. We just did-

Female (00:11:57):
You can't? You have no control over your kids?

Female (00:11:59):
If my kid reads that in the library, how am I supposed to control that? If my kid brings it home, I can
absolutely control that.

Moderator (00:12:04):
There's a parental oversight in the school library.

Female (00:12:07):
What do you think is going to happen to your child if they read a book like that? Are they going to die?

Female (00:12:12):
Wow,

Female (00:12:13):
Yeah, seriously.

Female (00:12:14):
Their minds would polluted without the ability to erase the garbage.

Male (00:12:19):
[crosstalk 00:12:19] yeah, but there's no pornography.

Female (00:12:23):
[crosstalk 00:12:23]

Female (00:12:23):
Are there kids in high school that are 18 and allowed to look at pornography? Yes.

Female (00:12:27):
Which they can get-

Female (00:12:27):
Not in my house.



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Female (00:12:31):
I was told my voice was allowed to be heard here, but I'm not feeling that at all.

Female (00:12:35):
I'm sorry.

Female (00:12:35):
At all.

Female (00:12:35):
We would for sure allow questions [crosstalk 00:12:39].

Female (00:12:39):
Okay. Because it's really hard to sit here and be quiet.

Moderator (00:12:41):
Okay. Can we just [crosstalk 00:12:44].

Female (00:12:47):
[crosstalk 00:12:47]

Female (00:12:47):
Okay, go ahead. I'm really on my best behavior, honestly.

Female (00:12:50):
Okay.

Female (00:12:50):
Can we just move on?

Moderator (00:12:55):
Okay. All Boys Aren't Blue. This one is ...

Female (00:12:57):
Sorry, if I'm [crosstalk 00:12:57].

Female (00:13:01):
No, you're fine. [crosstalk 00:13:01]

Moderator (00:13:02):
... again highly-contested across the country, across the state, nationally at the high school. Promiscuous
sexuality. It's an intersectional LGBT author. It has explicit sexual descriptions. In case you guys can't
read them back, I will read them. "You are fully erect at this point. You can't tell anyone, okay?" "I

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promise." "He grab hand and made me touch it." "By now, we were both touching each other. Tried my
best not to enjoy it because you were my cousin. We were crossing a family line that shouldn't be
crossed. Then you got down on your knees and told me to close my eyes. That's when you began to
[crosstalk 00:14:06]."

Moderator (00:14:07):
We'll just move on from that because ... This one [inaudible 00:14:07] graphic novels. Sometimes it's just
too much to read about it, so we have depictions here. This one is Blankets. Of course, he's got ... One
moment he's masturbating and then, the next you guys can kind of see that. This one is Fun Home: A
Family Tragicomic. This one again, it's LGBT author. I think the pictures kind of speak for themselves. Can
everyone see them? If not, we'll have the handouts in the back.

Female (00:14:41):
Move on.

Moderator (00:14:42):
Okay.

Female (00:14:42):
All these books that we talked about thus far are one that they have, the librarians in the high school,
there's two of them have reviewed and said, "We are keeping."

Female (00:14:54):
Why do you say reviewed like this?

Female (00:14:56):
They read them.

Female (00:14:56):
It's a little disrespectful.

Female (00:14:59):
I don't know what they did. Okay. They reviewed them. I'll take out the quotes.

Female (00:15:00):
Okay, okay.

Female (00:15:08):
They reviewed them and still decided to keep them. How's that?

Female (00:15:09):
Cool. Did they give you a basis on why?

Female (00:15:09):

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The reason that they say that they reviewed them is because in many cases, when we had the meeting
with them, especially with the junior high librarian, they said that they weren't aware of the content
[inaudible 00:15:17]. They go through hundreds and hundreds of books a year. Understandably, they are
reliant on many of the awards that some of these books have been given, right? So at the junior high,
the librarian was extremely gracious and explained some of her many processes that she used and was
disappointed to find that some of the material was in there. She reviewed the books and made a
decision to keep some and remove some. The high school librarians did not give us that kind of courtesy
that the junior high librarian did.

Female (00:15:50):
What courtesy? What do you mean?

Female (00:15:51):
To sit back with us again and explain her reason for keeping them. She just said in an email that, "I am
keeping these books," with no reason why. Technically, she didn't have to give a reason.

Female (00:16:01):
Right.

Female (00:16:02):
It's her authority to say that she's keeping them. But just to be clear, in some of the cases, they weren't
initially aware of the content of some of these books that they ordered that was based off of whatever
award they were given, but they did review them and make the decision to keep the books.

Female (00:16:20):
Okay. The junior high librarian though, she did give you the reasons why they chose to keep some of the
books.

Female (00:16:25):
She did, yeah.

Female (00:16:26):
Okay.

Female (00:16:27):
And it's quite thoughtful.

Female (00:16:29):
Yeah. That's great's. Really good to do that.

Moderator (00:16:33):
Okay. This is an example of a book. It's got a really strong anti-police message. This one is called
Something Happened In Our Town. Again, highly-contested book, not just in Nixa but across the across
the country. Here it says, "And they, cops, don't like black men." Then, if you'll go on the other side here


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 and says, "What if it was a white man in the car? Would they have shot him?" Then, it says, "They
 probably wouldn't even stop the car." This one is in the high school. Of course, this one is more designed
 for younger kids. This one, I don't know what thing it is.

 Female (00:17:24):
 It's in our other [inaudible 00:17:24].

 Moderator (00:17:24):
 It's just an ick kind of book. It may be one of those where at least an acknowledgement to the parents
 that, "Hey, your kid's reading this." This one is called Cannibalism: A Perfectly Natural History at the high
 school. One of the quotes here, and they tie the ... What do I want to say? Cannibalism as if it may be a
 possibility because of climate change and starvation. Here, I'll read the quote here. It says, "As climate
 change processes and humans see more famine, disease, and overcrowding, biological and cultural
 constraints may well disappear. These are the very factors that lead to outbreaks of cannibalism." Of
 course, the New York Times Book Review Editor's Choice called it a refreshing book at this topic, a lively
 and refreshing book.

 Moderator (00:18:24):
 We have all these books. We set up meetings with the library, the library director and the assistant
 superintendent. We sit down with them and we say, "You have pornography in the libraries," and they
 want to then tell us other policies. One of these policies here, I'm going to get back to this in a minute,
 but I want to kind of go back over what we've been doing. Finally, when we showed them some pictures
 of Fun Home and Blankets, they were understanding what we were talking about. We were going with
 the approach that we figured they didn't know that this was going on and that this was ... Our mission
 was basically to inform, educate, and see how we could improve the process. Apparently, there are
 books that are getting in that nobody is recognizing how problematic they are.

 Moderator (00:19:26):
 The 1,500 books that came into the high school last year, 1,500 new titles came in and-

 Female (00:19:38):
 No, 1,500 total and 6,700 new books.

 Moderator (00:19:41):
 1,500 new books, new books. I'm sorry, not new titles, new books. But 1,500 new books came in.
 Understandably, there's a lot of new titles. The librarian had admitted that she was not able to read all
 of those books, and that's understandable. But on the other hand, just going off the awards and the
 recommendations clearly is not going to prevent things like this from happening. I could argue that if
 their intent is to have things done [inaudible 00:20:13].

 Moderator (00:20:14):
 In the library's policy, this mirrors the American Library Association's policy on ethics. It says, "We affirm
 the inherent dignity and right of every person. We work to recognize and dismantle systemic and
 individual biases to confront inequity and oppression, to enhance diversity and inclusion, and to
 advance racial and social justice in our libraries, communities, profession, and associations through


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 awareness, advocacy, education, collaboration, services, and allocation of resources and spaces."
 There's a lot of language in there that really bothers me. I don't know if it bothers you guys.

 Male (00:20:59):
 Yep.

 Moderator (00:21:01):
 I don't know what it has to do really with the library.

 Female (00:21:03):
 Yeah.

 Moderator (00:21:05):
 Yeah, a high school library. All right. From our meetings they said, "Okay." Well, there's two ways we can
 go about this. We can have a formal process that has been used once in the past 16 years with a formal
 written book challenge. They said, "You know what? Because of the number of books you're bringing to
 us, why don't you meet with the librarians? Why don't you guys talk and see what you can agree on?
 What can be taken off the shelf right away? At their discretion, they can take off those books. They have
 the authority to do that. That's where we started. We met with the junior high. We met with the high
 school librarians.

 Moderator (00:21:47):
 About three weeks ago, we got a response back after our meetings. The high school had said that they
 were not going to remove any of list. Again, even the graphic novels I thought were a pretty easy one to
 say, "Yeah, we're not going to do that." Even just to temporarily take them off the shelves until they
 were reviewed, and that was not an acceptable possibly. Can you hold on?

 Female (00:22:21):
 Yes.

 Moderator (00:22:23):
 I'm almost done. I'll let everybody, because I know then we'll start opening this can of worms here.
 Okay. All right. This is what we have for recommendations. We went there and said, "What's your
 standards? How do you decide what is acceptable in your books and what's not? Is there anything for
 ethical standards?" Again, you can look through the policies and it does say that it is supposed to
 enhance the curriculum. But when you actually ask the librarians, the library director, like what are the
 guidelines you there? They're so vague. It's really, there's not very much to go off of here.

 Moderator (00:23:17):
 We were asking that they put ratings on books, similar to film and television, so that these books can be
 flagged. Some of them, I personally, we agree like pornographic books, they just need to be off the shelf.
 They need to be gone. But some of them are controversial. And so, you may see that say that there's
 opposing sides of view, and so we need to have a balance. I think that is fair. I'm all for free speech. I
 think the more speech, the better. I am okay with that.



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 Moderator (00:23:48):
 However, some of these need to have a designation, so the parents know what their kids are checking
 out or even if they want them to check out books like this. If it includes violence, politicization, again if
 it's something CRT based, something dealing with gender identity, especially at younger ages, and then
 I'm sorry, I'm having a hard time reading this here. Okay. Mature topics such as rape, incest, child abuse,
 drug abuse, alcoholism, and suicide, which side note, we have a book, 13 Reasons Why, and that's in the
 junior high, in the high school, and it deals with suicide. They've made a Netflix series out of it and
 there's scenes of rape in there. It has tendency to glorify suicide. It's just feels like a very toxic message.

 Moderator (00:24:47):
 That would be one of those again, where you want parents to know what their kids are bringing home. It
 could be triggering. It could be something that is triggering. We would like to see digital notifications for
 parents. They'll know which ones students check out just like books. Public listings of new titles
 purchase for the school library, I think we should be able to know what's new coming into the library. I
 think as taxpayers, that's definitely our right to know.

 Male (00:25:17):
 Absolutely.

 Female (00:25:18):
 Yes, absolutely.

 Moderator (00:25:20):
 Then also, parent and resident involvement in the vetting process. If you can't read all the titles and you
 feel overwhelmed, that's okay. But let others, if there are lots of people that would like to be involved in
 the process. Then, ways to take action. We encourage you go ahead and contact the district. Let them
 know how you fee. We have contact information for the superintendent and the library director. Please
 share this information. I have some flyers there. I got a few book excerpts just because sometimes
 people have to read it for themselves just to know what you're talking about. Because again, just like
 when we first met with the school district, can you say pornography? No. Oh, okay. So, they really can
 understand it for themselves.

 Moderator (00:26:19):
 Then we ask you join in the book challenge process. We're finding more books all the time and we need
 people that are willing to read these books and let us know [inaudible 00:26:34]. They're decent books.
 And sometimes not, but we need to really know for ourself what type of books and what the story is.
 And then, and submit book challenges. It can't just be a few parents. We would love to bring you in. We
 would ask that you coordinate, so we're not duplicating things, but definitely we really would love your
 help. Then, there's-

 Female (00:26:56):
 I just want to say, we have submitted 10 challenges thus far. Do you want to tell them a little bit about
 what the challenge involves after we turn in the piece of paper?

 Female (00:27:09):


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 [inaudible 00:27:09].

 Female (00:27:09):
 Okay. The principal of that school, that you have a particular book that you want to challenge, the
 principal then assembles a four to five person committee made up of a librarian, an administrator, a
 teacher, and then basically a parent or patron of the community. After that, those people read the book.
 In the challenge, you basically state what you want the book to do. Do you want it off the shelves? Do
 you want it to be placed in a specific, maybe locked area in order to have parental permission for it?
 From that point, the committee decides like, "Yeah, we are going to pull it, or "No, it completely stays,"
 or "It needs parental permission," whatever they decide. We're still waiting back. I don't know when
 we'll hear back from those things. They said it would be done in a timely manner. I don't know what that
 means exactly. We're just playing the waiting game.

 Female (00:28:23):
 Can we go back to the slide right before here? Nowhere here is anybody saying that books need to be
 banned because that is a pretty slippery slope, right? What we're talking about here is a standard of
 excellence that we want to uphold. We have to be able to treat our children at the lowest common
 denominator and what may be okay for a senior oftentimes is not okay for a freshman. There is no way
 in the library to separate some of these books. That's what we're talking about. What can we do that
 either gives the parent notification or the student notification on what's inside of these books? What
 can we do that says, "Hey, put a warning label on it, just so you know, this is the kind of context."

 Female (00:29:09):
 Like trigger warning.

 Female (00:29:10):
 We have a mental health crisis in our schools right now. If hand them more material that could then
 trigger them to more suicidal thoughts or trigger thoughts of rape that they've already been through, or
 incest that they've already been through is not what we should be doing. In the majority of cases, the
 content that is in some of these folks would not be permissible as an assignment. They would have it
 rejected and they would probably get in trouble, right? If they submitted some of those images that we
 showed you as artwork, it would not be displayed in the hallways. It would be blocked from their
 Chromebooks. If that's the case, if that's the standard that the school has with written materials
 elsewhere, why are we then allowing it in the libraries? Yes, this material has been around for a long
 time, in some cases. This material is available at the public library. This material is available on their
 iPhones. Right? Okay. But that doesn't mean that our taxpayer dollars need to go and support [crosstalk
 00:30:13].

 Female (00:30:13):
 Right.

 Female (00:30:13):
 This isn't about [inaudible 00:30:20] books. This isn't about censorship. This isn't about targeting
 historically marginalized authors. This is about providing material that is edifying, encouraging, and
 inspiring to our students. I don't care if a purple alien wrote it.


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 Female (00:30:35):
 It has to be appropriate.

 Female (00:30:36):
 If it tells a story, and we don't need to shy away from difficult topics either. We don't need to shy away
 from racism still exists. But we don't need to still paint an entire group of people as an oppressor and
 another group of people as victims. These are young minds whose frontal lobe is not even fully
 developed until they're 25.

 Female (00:30:59):
 Yes.

 Female (00:31:00):
 Any book that they get in their hands, even an 18 year old, is going to be easily influenced. Okay?

 Female (00:31:06):
 Okay.

 Female (00:31:07):
 Yes, we have incredibly intelligent students at our school that can make decisions on their own. Look at
 the end of the Voice, both that has the inaccurate stats in the back.

 Female (00:31:21):
 Ghost Voice.

 Female (00:31:22):
 Ghost Voice. And saying, "You know what? Some of those statistics aren't right." But the majority of
 students that read that are going to look at those statistics and assume that they're right. A bias is going
 to be formed in their mind. Guys, it's really just a matter of saying, let's put material in front of them
 that can teach them a difficult lesson, but doesn't drag them through the gutter to get to that different
 lesson.

 Female (00:31:47):
 Right.

 Female (00:31:48):
 Yes.

 Female (00:31:49):
 The book Ghost Voice that you were talking about, I've never heard of that book before. Is it listed as a
 fiction or non-fiction book in our library? Do you know?

 Female (00:31:55):



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 It's listed as a fiction book, but it's loosely based on a true story, my understanding.

 Female (00:31:59):
 Okay.

 Female (00:32:01):
 Fiction means not true, right?

 Female (00:32:02):
 But at the end, though, it shows real statistics.

 Female (00:32:05):
 It says these are real statistics?

 Female (00:32:06):
 Yes.

 Female (00:32:08):
 But are they inaccurate because they're out of date, because the book's older? Is that what you're
 saying?

 Female (00:32:16):
 [crosstalk 00:32:16].

 Female (00:32:16):
 Did you look at the publishing date? Because such as those, especially like police statistics, as we all
 know, those are changing daily.

 Female (00:32:21):
 It's to one year. They listed that's for one year, that [inaudible 00:32:29].

 Female (00:32:28):
 Yeah. But I understand what you're saying.

 Female (00:32:29):
 Okay. Yeah, that's all I was asking.

 Female (00:32:31):
 [crosstalk 00:32:31] context there.

 Female (00:32:31):
 Right, right.



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 Female (00:32:32):
 Yes, yes. But how many 16 year olds are going to say, "Oh, well that only applies to 2010," right? They're
 not. And the way it thrown out-

 Female (00:32:41):
 I would argue that, but okay.

 Female (00:32:42):
 I mean you're right. There are some that would say, "Okay, well that doesn't apply now."

 Female (00:32:47):
 I mean, it all comes down to the parents teaching. Are you teaching your kids to be critical thinkers? Are
 you ... You know?

 Female (00:32:53):
 No, I know. It sounds like you are an engaged parent.

 Female (00:32:54):
 I am very, yeah.

 Female (00:32:56):
 There are many of us that are in this room are, right?

 Female (00:32:57):
 Yeah.

 Female (00:32:58):
 But so many kids don't have engaged parents.

 Female (00:33:01):
 Yeah.

 Female (00:33:01):
 And they're bringing home those materials and they're reading it in their room, in the dark.

 Female (00:33:05):
 Yeah.

 Female (00:33:07):
 It's a lot of big stuff, some of it.

 Female (00:33:09):



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 For you to come up here, like I appreciate everything you just said, and this is just my opinion, but I like
 that you said you're not looking to ban books because everything that this group has put out, that's the
 message. Ban books.

 Female (00:33:23):
 [crosstalk 00:33:23].

 Female (00:33:23):
 No, no. I'm telling you, that's what I got from your message. I appreciate hearing you-

 Female (00:33:27):
 No. But that's not fair. But that's not fair.

 Female (00:33:29):
 No. It's not fair for me to share my opinion?

 Female (00:33:32):
 No, no, no. But we've never said we want to ban books.

 Female (00:33:38):
 [crosstalk 00:33:38].

 Female (00:33:39):
 But also the librarians didn't say, "We want your kids to read about this." So, see? Tit for tat. What I'm
 saying is I appreciate what you just said because the message your group gives off is ban books.

 Female (00:33:51):
 Yes, but that's apparently due in part by what City Councilwoman Amy Hoogstraet has published on her
 [crosstalk 00:33:56].

 Female (00:33:56):
 Don't throw her at me. She's not here to defend herself.

 Female (00:33:59):
 I know. But she [crosstalk 00:34:00].

 Female (00:34:00):
 [crosstalk 00:34:00]

 Female (00:34:00):
 I was trying to give you a compliment.

 Female (00:34:07):


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 [crosstalk 00:34:07]

 Female (00:34:07):
 Time to move on.

 Female (00:34:07):
 I come from a background where my husband is in law enforcement. I have not read any of the books
 except the one about the neighborhood. Because my husband brought that book before the school
 board Springfield because it was to defund police, and white police officers hate black children, and so
 on. But some of those pictures that you showed up there that I could barely look at are pornographic.

 Male (00:34:35):
 Pornography.

 Female (00:34:36):
 Yeah.

 Female (00:34:36):
 Why has the sheriff's department [crosstalk 00:34:39]?

 Female (00:34:38):
 That's right.

 Female (00:34:39):
 If they have been, [crosstalk 00:34:44].

 Female (00:34:45):
 Do you want to give Andy a chance [crosstalk 00:34:47]?

 Female (00:34:47):
 [crosstalk 00:34:47]

 Andy Wells (00:34:47):
 I can talk to legal side of this because I've been dealing with it.

 Female (00:35:00):
 They're talking about [crosstalk 00:35:05].

 Andy Wells (00:35:04):
 My name's Andy Wells. I'm a Missouri state president for No Left Turn in Education, which is a national
 501(c)(3). We're against critical race theory. We're against sexualization and sexual confusion of our
 kids. We're against indoctrination of the kids in school. Obviously, I know don't want that to happen to
 my kids. I don't want it to happen to any of these kids. With this topic, this one's a touchy one. People


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 get upset on both sides. There are people that absolutely believe that my child should be able to read
 anything they want. Well, if you choose that as a parent, you bring that home to your child, you want to
 give your child a Playboy magazine to read when he's 12 years old or 13 years old, that's on you as mom.
 That's on you as dad. You parents decide we're talking public education and we are the state definition
 of pornography.

 Andy Wells (00:36:00):
 I started this out. I was not involved with anything with books. I was only worried about critical race
 theory until August of this year. I got a list that sent out by my national, "Hey, we're starting to see some
 pornography in schools across the state. We didn't realize it was in there. I just sent out a short list of
 about 15 books." That night, I got an email or a message from a parent about 1:30 in the morning. She
 saw the list. Her son was asleep. She went upstairs. She looked in his backpack. She found a copy of Fun
 Home. You've already seen some of the pictures. There was even more. They were even worse, more
 graphic. I mean, explicitly graphic, even worse than what was shown.

 Andy Wells (00:36:51):
 When when the mother saw that, she showed it to her husband. Then she had spend the next hour and
 a half after trying to calm her husband down because he wanted to go find whoever gave that book to
 his son and beat their butt because his 14-year-old son did not need to be bringing porn home from
 school. Me, being the person I am, I started looking up state statutes. What does the law say? She had
 the numbers up there. Missouri state statute does define what pornography is. It defines child
 pornography. Both of them.

 Female (00:37:26):
 Can you read that please?

 Andy Wells (00:37:27):
 I do not have them with me. It's a state revised statute 573.010 and 573-

 Female (00:37:34):
 I have it here. You can borrow it.

 Female (00:37:37):
 Yeah, could I please?

 Female (00:37:38):
 Yes.

 Female (00:37:40):
 Can I ask you real quick? Would you allow-

 Female (00:37:44):
 I don't think we need to be rude. My goodness.



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 Female (00:37:45):
 ... [crosstalk 00:37:45] child if there were a pedophile? Because if you're going to allow books into the
 schools that our children go to most of the day, it's kind of the same thing.

 Andy Wells (00:37:54):
 Exactly.

 Female (00:37:56):
 Not at all.

 Andy Wells (00:37:57):
 I'm not going to just [crosstalk 00:37:59]. All right. Here's the deal. I actually took books and I had been
 reading books. I got a whole bunch of them back there and I started reading them and I asked parents
 across the state. Send me what you got. Send me a list. I am in touch with 28 different parent
 organizations across the state of Missouri, literally north, south, east west. I'm talking to all these parent
 organizations and I'm trying to centralize a list. And then look at libraries [inaudible 00:38:28] in. I've
 looked at 160 libraries, high school, middle school and elementary libraries. Yes, there are five
 elementary libraries that have this book in them. Elementary, that any elementary, kindergarten
 through fifth grade can go check out in their elementary library and it does meet these state statute.
 Before anybody wants to argue, well, I don't think it really meets the state statute.

 Andy Wells (00:38:53):
 Every book that I have on my list, I took to prosecuting attorneys and said, "You look at it and tell me if
 that meets the state definition of pornography or child pornography." And I have got a determination
 from them in writing. I'm covering my basis. I'm taking this information to the state legislators, and
 we're trying to fight this because right now, because of the way the laws read, if the schools can say that
 it has literary value, I have a real problem when my 13-year-old can grab a book that has a scene in it
 where the father rapes his 11-year-old daughter until she goes unconscious, and wherein a pedophile
 talks about playing with a five-year-old's nipples.

 Male (00:39:47):
 Yep.

 Andy Wells (00:39:47):
 I am sorry. That is not appropriate. If you were saying that, and you had to put Playboy magazine in the
 school because Playboy magazine has had more Pulitzer prize-winning authors than any other magazine
 in the United States, ever. Playboy magazine has more Pulitzer prize-winning authors write articles for
 Playboy, well why isn't that Playboy in high school? Oh, that's right. It's porn. No, no. It's common sense.
 It's porn. So, no. We don't allow that in schools, but we're going to put this trash in there. We're going to
 put pornography in schools and call it literary value. Now here's the other thing. There's currently a
 lawsuit happening. Wentzville School District.

 Female (00:40:37):
 That's what you're just reading about?



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 Female (00:40:41):
 Wentzville School District removed these five books. Like I said, pedophilia, pornography, pornography,
 pedophilia, pornography, pornography, pedophilia, pornography. All by state definition-

 Female (00:40:59):
 Can I just say something about the Wentzville School District really quick? This is a school district where
 the furry situation has gotten so out of control that they're defecating and urinating in the hallways.

 Female (00:41:12):
 The what situation? What did you say?

 Female (00:41:14):
 Furry.

 Female (00:41:16):
 But the school board was in agreement on these books, just to give you an understanding of the context
 of [crosstalk 00:41:24].

 Andy Wells (00:41:24):
 Furry is kids who identify as animals.

 Female (00:41:29):
 What?

 Andy Wells (00:41:29):
 Yes.

 Female (00:41:29):
 Is that a real thing?

 Andy Wells (00:41:30):
 Yes, that's a real thing. Yes, there are kids that [crosstalk 00:41:33].

 Female (00:41:34):
 And that's fine if they [crosstalk 00:41:34].

 Andy Wells (00:41:34):
 Whatever. I'm not even going to get into that line.

 Female (00:41:34):
 They're defecating and urinating in the hallway is what's happening there.

 Andy Wells (00:41:38):


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 That's how far down all left the school district's gone, and they still said the Democrats on the board,
 card-carrying Democrats were like, "No. Porn, that's the line we will not cross. Those need to be
 removed from the school district." And that's why they removed it. ACLU of Missouri, they removed the
 books last month. ACLU filed a lawsuit.

 Female (00:42:04):
 Of course, they did.

 Andy Wells (00:42:05):
 ACLU Missouri is suing Wentzville School District. By the way, we believe that two of the people that
 filed a complaint, yeah, they're running for school board. Imagine that. In that lawsuit, they actually
 named me by name, because I came up with the list. Now, they're trying to say, this group, and it's going
 to happen to you guys. You try to get these books out of your libraries and it's going to happen. They're
 going to try to say that you're a racist. They're going to try to say that it's because of sexual orientation.

 Female (00:42:43):
 I want to see what the definition of pornography [crosstalk 00:42:45].

 Andy Wells (00:42:44):
 They're going to say, "Oh, you want to remove The Bluest Eye because Toni Morrison is a woman of
 color. That's why you want to remove the book." No, I want to remove this book because it's got
 pornography and pedophilia. Oh, by the way, they didn't try to remove her other book, Beloved, they
 didn't touch that one. Why? Because it doesn't have pornography or pedophilia. Kind of making sense
 here? They're going to try to fight that fight, and that's what they're going to frame it at. I don't care.
 You just better block a law. They are going to try you say it's about sexual orientation or it's about the
 color of the writer.

 Male (00:43:25):
 Could you expound on natural law and the benefits of what we have done in the past and what's
 worked? In other words, Nixa's known for being very good. Why should you try and fix it if it's not
 broken? Shouldn't we stay with what we've done? In other words, the good things that the school has
 done.

 Andy Wells (00:43:46):
 You know what? I would love to.

 Male (00:43:47):
 I need you to think, and you need to comment on this. Bear with me, bro. I want you talk about, it's
 important that a man is with a woman.

 Andy Wells (00:43:59):
 I'm not going to go there. No.

 Male (00:44:00):



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 Okay.

 Andy Wells (00:44:01):
 No, because I don't care. I don't care about the sexual orientation of the people. I don't care about that.
 That means nothing to me. My best friend in the world, her father had passed away. When she got
 married to her wife, I gave her away. By the way, I'm a Baptist preacher, but I did not have a problem
 with that. That was her choice and her belief. Understand what I'm saying? That's her life. She'll pay for
 whatever happens. Not my job to judge.

 Male (00:44:38):
 But I'm not saying that.

 Andy Wells (00:44:38):
 What I am saying is we have to keep this where it belongs especially when you're talking about these
 books. It is about the sex. It is about pedophilia. That is what it's about.

 Male (00:44:51):
 Right. Then it goes one step further.

 Female (00:44:54):
 Well, we're not talking about that. Let him continue speaking. Go ahead, Andy.

 Male (00:45:00):
 Can I [inaudible 00:45:00]?

 Andy Wells (00:45:03):
 The law specifically-

 Male (00:45:05):
 It's based on natural law.

 Andy Wells (00:45:06):
 That law specifically says what the definition of child pornography is. Child pornography, this book
 meets the state definition of child pornography because it has a father raping an 11-year-old girl. When
 a man rapes an 11-year-old girl in writing, in a book graphically and describes the scene, that is child
 pornography. That's the way this Missouri State Statutes read.

 Female (00:45:33):
 What does that have to do with education?

 Andy Wells (00:45:37):
 Exactly. What does that have to do with education? Why in the heck is these books in the schools? And
 that's the problem is they've gotten in there and we are trying to get them out. We are trying to educate
 people that what is in the libraries in the first place, because most people don't know.

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 Female (00:45:52):
 So, a school doesn't have to follow law.

 Andy Wells (00:45:56):
 They say ... Oh, you've opened up a can of worms.

 Female (00:45:59):
 I'm sorry.

 Andy Wells (00:46:00):
 What they're going to say, they're going to say that it was because the author of this book won a Pulitzer
 prize, then her book deserves to be in there. Here's what happens. You said go to the police, right?
 You're going to go to the police department because this has happened across the state of Missouri. No,
 they have filed police reports. They've taken it to the prosecuting attorneys. The prosecuting attorneys
 say, "I'm not going to file charges. Who do I file charges against? Do I file charges against the librarian?
 Do I file charges against the teacher in the AP English class that handed the kid to my book? Do I file
 charges against the superintendent, the principal, the school board?"

 Andy Wells (00:46:42):
 That's not my issue, but that's the argument that the prosecuting attorneys have given me over and over
 again. Now there are two cases going on in the state of Missouri right now that prosecuting attorneys
 have been willing to step up and say, "Yes, we are going to file charges." They are going to file charges
 against the school board because the school board is ultimately responsible for the content of the
 library. They approve the budget and they approve the books. They have to. By the fact that they are the
 senior head honchos of the school district, that's where that fight is. Yes, sir?

 Male (00:47:18):
 On the second to last slide, there was talk about suggestions for the library council or the committee.
 What's to stop them from just rejecting that outright like they did when [crosstalk 00:47:29] Fun Home?

 Andy Wells (00:47:30):
 That's what happened in Wentzville.

 Male (00:47:33):
 When you say, "No, thanks," how do you-

 Andy Wells (00:47:35):
 Wentzville-

 Female (00:47:35):
 Then it goes to the school board.

 Andy Wells (00:47:40):



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 Wentzville review committee reviewed all these books. Then, the parent that brought the complaints,
 the three parents that brought the complaints of these books, they all voted, do not keep them in the
 library. The teachers and the administrators that were on the county committee also, they all voted
 keep it. It was six to one in every case. And so, it went to the school board. The school board looked at it
 and said, "No, we're not going to do it. There is a line we're not going to cross." That's what this is about.
 Now, I understand what Nixa is doing. The Concerned Parents of Nixa, rock on. I applaud you for your
 fight. I do. You're trying to get rid of, you're trying to weed out a lot of junk, and I understand that. I'm
 just-

 Female (00:48:32):
 It's not just a matter of weeding out because there'll be 20 more books next year. It's a matter of
 understanding-

 Andy Wells (00:48:40):
 Changing the process.

 Female (00:48:41):
 ... and changing the process ahead of time, and whether that means working with a librarian and
 forming committees to help them vet some of these books. Again, many of them didn't know the books
 that were in there, or putting different parameters around the checkout selection.

 Andy Wells (00:48:57):
 That's what we're trying to do right now.

 Female (00:49:00):
 Where's our standard?

 Andy Wells (00:49:00):
 Right now, I'll let you know a couple things that I'm doing. I'm working with a few state legislators right
 now about laws. It ain't going to get done this year because the legislative sessions already started
 before we are actually trying to create a process like what you guys are talking about, a rating system for
 the books.

 Female (00:49:17):
 I mean, we got them for movies.

 Andy Wells (00:49:19):
 Yeah, we got them for movies. What I have are for books.

 Female (00:49:22):
 That seems like a totally [crosstalk 00:49:22].

 Female (00:49:22):
 Yeah.


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 Andy Wells (00:49:22):
 But [crosstalk 00:49:22] they can opt in where the parents will have to opt their child in, not off their
 child out. Because right now, if you want to get a book, if you want to stop your child from getting a
 book, you can call the library and say, "Okay. Here's the list of books that I don't want my child to read."
 This is only the tip of the iceberg that's in the libraries, I guarantee it, that will meet those same criteria.
 You can go up there and say, "I don't want them to read these books," but you're not going to stop them
 all. How do you stop them all is you have an opt in and have a classification. That's one of the things.

 Female (00:49:57):
 I will say that right away, the director of technology, he did submit a software implementation, software
 update so that Destiny, the library book check out catalog, thank you, that would send a push
 notification to the parents, "Hey, your child just checked out this book." At least it's a way for a parent
 to be notified.

 Female (00:50:23):
 That's totally reasonable.

 Female (00:50:25):
 Yeah. He's working on that. It may take a while, but that was one thing that they were willing to do, at
 least try to put in the system.

 Female (00:50:30):
 Yeah.

 Andy Wells (00:50:32):
 There's a couple other things that we're working on. Public libraries. I know somebody brought ... Well,
 you can get these books in the public library. I've already talked to the Secretary of State, and he has not
 finalized yet, but he is definitely on board. I've already got screenshots of about 10 different public
 libraries in the state. I'm going to do a sample of about 25 random public libraries throughout the state.
 Give them the list, give them the list of books, give them the definitions, give them the proof that
 they're porn, and he's going to go back to those school district. He's already said, he's go to the libraries.
 His plan is, public libraries will have any book that meets the state definition of pornography will have to
 have the books in the 18 and over section. If you are not 18 years old, you don't have authorization to it.
 Period.

 Andy Wells (00:51:19):
 If mom wants to go in and check out that book and take it home for little Johnny, so little Johnny can
 read it, that's on mom or dad, right? That's on them. That's what we're trying to do, so that these books
 are out of kids' hands. Right now, my 13-year-old can go to her high school library and check this book
 out. It makes me sick to my stomach. By the way, I'm from a little tiny, small town. All right? Our school
 district has 1,016 kids in K through 12. We've got this junk. I've only found one school district in the state
 of Missouri that did not have any of these books in it. Funny thing, that's Thayer, Missouri. Thayer,
 Missouri is also ranked the 14th best school in the state. Their ACT scores are above just about
 everybody's ...



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 Female (00:52:11):
 Thayer?

 Female (00:52:11):
 Thayer.

 Andy Wells (00:52:12):
 Their ACT scores are off the chart. Their MAP scores are off the chart. Their testing scores are off the
 chart. I wonder why the school district's doing so good. Maybe it's because they are actually paying
 attention to what's going on and they didn't let these other people take over the school district.

 Female (00:52:28):
 Right.

 Andy Wells (00:52:29):
 The people that are pushing this stuff in. Yes, ma'am?

 Female (00:52:32):
 I think I've heard some questions as to why there's a concern and why we're concerned or why change
 what's working, and it's been working. But I think this is been-

 Male (00:52:44):
 I get your point. Let me clarify. I'm actually on this.

 Female (00:52:46):
 Oh, no, no, no. I'm not arguing. I just wanted to give a [inaudible 00:52:50].

 Male (00:52:50):
 Yep.

 Female (00:52:51):
 In 2018, this is several years ago, and this is when things were just starting to pick up with the graphic
 books, the books in the classroom. I'm just going to say that some of these books are actually books that
 are school assignments for elementary students in some school districts. It's not a matter of being in the
 library. But the Kansas City's Mercy children nurses, the same nurses that oversee the rape, they found
 an alarming trend as children abusing children.

 Female (00:53:20):
 Yep.

 Female (00:53:20):
 Yep.



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 Female (00:53:21):
 This is actually a study that's been done and a dangerous trend of children abusing children involving
 porn. They're finding out that a large variety of the abusers, the people that are committing the abuse
 are between 11 and 15 years old. Some of it is-

 Female (00:53:42):
 They're learning that from home.

 Female (00:53:43):
 They're learning and-

 Female (00:53:44):
 Yes. They're not reading a book and deciding, "I'm going to go rape a kid." Sorry.

 Female (00:53:49):
 How do you know? [crosstalk 00:53:54]

 Female (00:53:54):
 Give a week and I will.

 Female (00:53:54):
 Hold on.

 Female (00:53:56):
 Give me a week and I will.

 Female (00:53:57):
 Guys, can you let her finish? She's still trying to talk.

 Female (00:53:59):
 Sorry.

 Female (00:54:00):
 But the thing is, I'm not saying whether it's in the home or it's at school, this statistics didn't state if it
 was at home or at school. It was that early exposure to pornography and pornographic materials.

 Female (00:54:12):
 Yeah.

 Female (00:54:13):
 And some of these materials are in elementary schools. I think that's a huge, huge concern. Some of
 them are direct lessons that are being taught directly. I can vouch for that. I can also tell you that as an
 educator, if we knew that there was child pornography or kids were being exposed to child pornography


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 books or magazines or videos in the home, we are mandated by law to report and to hotline that. Now,
 what happens after that? I think the concern is actually that, I mean, we're seeing a really bad trend. So I
 know there's a lot of, "Well, what if this happens to your child?" We don't want it to happen to
 anybody's child.

 Female (00:54:55):
 But can you link that to books at the school library? I guess that's what I'm saying because ...

 Female (00:54:59):
 I'm not here to cause trouble.

 Female (00:55:00):
 No.

 Female (00:55:01):
 Are you here to be mean?

 Female (00:55:02):
 No. I'm here exercising my right to be here.

 Female (00:55:08):
 Everything that anybody has said, you just-

 Female (00:55:10):
 I have a problem with, you're right. That's right.

 Female (00:55:12):
 Why are you here, then? You're not here to learn.

 Female (00:55:13):
 So that you know, you guys-

 Andy Wells (00:55:13):
 She's here to cause problems and to interrupt.

 Female (00:55:24):
 No.

 Female (00:55:24):
 What?

 Female (00:55:24):
 No, no, no. I heard her heard.


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 Female (00:55:24):
 No, I'm not.

 Female (00:55:24):
 No.

 Female (00:55:24):
 She wanted [crosstalk 00:55:27] good intent.

 Female (00:55:26):
 Correct.

 Female (00:55:27):
 But to your point-

 Female (00:55:28):
 This is why Nixa's not inclusive, by the way.

 Female (00:55:30):
 Who cares?

 Female (00:55:33):
 Who cares?

 Female (00:55:36):
 That's the attitude that you all have.

 Female (00:55:37):
 Guys, [crosstalk 00:55:37] the problem. To your point, yes, maybe they didn't learn it from the book. But
 if they are being abused already at home and they do have it emphasized in the book, why is that
 helpful?

 Female (00:55:49):
 I didn't say it was helpful.

 Female (00:55:50):
 I liked your idea that says like putting a warning, a content warning.

 Female (00:55:55):
 Yeah.

 Female (00:55:56):
 I think that's a wonderful idea.

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 Female (00:55:56):
 Instead of arguing this with me, [crosstalk 00:55:56].

 Female (00:55:57):
 I like a trigger warning on these books that have explicit content. That's great.

 Female (00:55:58):
 If they read about it, how is it going help them?

 Female (00:56:02):
 Again, we don't need to keep our kids in the bubble and shield them from every difficult subject.

 Female (00:56:05):
 Right.

 Female (00:56:05):
 Right.

 Female (00:56:06):
 But there are ways that we can teach them lessons that don't take them through the gutter. You can
 look in a pile of trash long enough and find something shiny out of it, right? But you're going to walk
 away with a stench. How long is that stench going to stay on you? And what is it going to cause you to
 do? What if you're already dealing with mental issues, right? Then, you read some of the content in that
 book and then you have an emphasis on these statistics.

 Female (00:56:31):
 Well, hopefully I would hope as I am teaching my own children to have open dialogue and have be
 critical thinking that child go to their parents-

 Female (00:56:39):
 Some children have no help.

 Female (00:56:40):
 You're right. But ...

 Female (00:56:42):
 So many kids don't have you at home.

 Female (00:56:43):
 Okay. Okay.

 Female (00:56:46):
 An engage parent.


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 Female (00:56:47):
 Okay.

 Female (00:56:48):
 These books are affirming, too.

 Female (00:56:50):
 you said yourself, you hadn't read them. Especially the boy book, the blue, the boy?

 Andy Wells (00:56:56):
 I've read every single book on the table.

 Female (00:56:58):
 Okay.

 Andy Wells (00:56:59):
 And I got sick to my stomach reading about half of them.

 Female (00:57:00):
 I wasn't talking to you. I was talking to her. She said she didn't read him.

 Female (00:57:03):
 I didn't read them.

 Male (00:57:03):
 He's the expert.

 Female (00:57:08):
 Okay. Here's my thought especially on the All Boys Aren't Blue. Imagine being a child rape victim and
 you read that. And then, you read the book and then you think, "Oh, I can take charge of my own
 sexuality." It doesn't have to be-

 Female (00:57:22):
 [crosstalk 00:57:22] studies that show bibliotherapy is not effective.

 Female (00:57:24):
 Can I see those studies please? Can I see those studies?

 Female (00:57:27):
 Google it.

 Female (00:57:28):
 Okay. Then Google, what I'm saying.

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 Female (00:57:34):
 [crosstalk 00:57:34].

 Female (00:57:34):
 It's been removed from all psychological [crosstalk 00:57:36].

 Female (00:57:35):
 Is anything going to change your mind?

 Female (00:57:35):
 All right. Let's not go there.

 Female (00:57:36):
 So, you're no better than me. Right? You think you're better than me? Okay.

 Moderator (00:57:44):
 I have something to stay. Stop. I think that it is brave of you to be here.

 Female (00:57:50):
 Well, thank you for recognizing that.

 Moderator (00:57:52):
 I know this feels probably [crosstalk 00:57:54].

 Female (00:57:54):
 It feels awful.

 Moderator (00:57:57):
 I'm sorry about that.

 Female (00:57:57):
 Let me just point out the hypocrisy and all these people wanting to say that it's okay to speak out and
 say your voice. But when I do, look what happens.

 Moderator (00:58:04):
 So could I?

 Female (00:58:04):
 Thank you for being somewhat hospitable.

 Moderator (00:58:07):
 Okay. I'm trying.



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 Female (00:58:10):
 Me, too.

 Moderator (00:58:11):
 What you said, and I see that, which is why I'm trying to [crosstalk 00:58:14].

 Female (00:58:15):
 I appreciate that. Thank you. You actually look like my mom's best friend, which is comforting to me.

 Moderator (00:58:19):
 Oh.

 Female (00:58:19):
 Thank you.

 Moderator (00:58:19):
 But I think that there is a middle ground. I think what I'm seeing proposed here about like you said, the
 rating system, that would be-

 Female (00:58:29):
 Perfectly reasonable.

 Female (00:58:29):
 It's common sense.

 Female (00:58:30):
 Perfectly reasonable.

 Moderator (00:58:30):
 ... is a reasonable thing. Again, what you said earlier about a person who has gone through something
 traumatic and can read through something and identify with it, and see at the end that there-

 Female (00:58:41):
 There's hope. There's recovery, yeah.

 Moderator (00:58:43):
 [crosstalk 00:58:43] a million example that. But I think there's way to look for books that don't have the
 graphic details.

 Female (00:58:50):
 Yeah.

 Moderator (00:58:50):


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 I don't feel like that's necessary and I get it.

 Female (00:58:50):
 And that's okay. You're opinion.

 Moderator (00:58:53):
 We could maybe never agree on that, and that's totally fine.

 Female (00:58:57):
 Okay.

 Moderator (00:58:58):
 But I know my children wouldn't be able to handle that. And so-

 Female (00:59:01):
 Then, you would make sure that they wouldn't read those, right?

 Moderator (00:59:04):
 Well, I would do my best just like I've got monitoring stuff on their phones to make sure that they're not
 looking for pornography on their phones. Just like, I really appreciate that the Chromebooks are set up
 to filter that out.

 Female (00:59:16):
 But we have so many parents that can barely keep their head above water.

 Moderator (00:59:19):
 Right. But this is why I'm saying, I would really love to be able to feel like it's okay for him to go to the
 library and I don't have to be worried that they're going to find stuff. Because porn is so hard [crosstalk
 00:59:31].

 Andy Wells (00:59:32):
 What it comes down to is by Missouri State Statute-

 Female (00:59:34):
 You're never going to filter it all out, though. It's everywhere.

 Moderator (00:59:36):
 I know.

 Andy Wells (00:59:37):
 [crosstalk 00:59:37] access to pornography. What it comes down to is at 18 years old, in the state of
 Missouri, you are not supposed to be able to have access to pornography. You should not have access to
 porn at 18 or under right. After we get the pornography out of schools, I'm absolutely good with the


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 rating system. Something that's got sexual innuendo in it, awesome. Let's put that in a different
 category. Something that insinuates rape or talks about the aftermath of rape, okay, as long as it doesn't
 contain a graphic scene of the rape, because as soon as it does, then it becomes pornography, which in
 the state of Missouri is illegal to have an 18 or under. That's what this all comes down to, for me. I know
 you guys are also trying to deal with the other stuff. Specifically, I'm trying to deal with getting porn out
 of schools, K through 12 schools in the state of Missouri and it's going to happen. I guarantee it's going
 to happen.

 Andy Wells (01:00:36):
 There's enough legislators that have found out about this. They are absolutely livid. If there's going to
 changes and we're going to be able to get porn out of schools, so either one or two ways. Either they're
 going to change the law and make it available, so a parent can sue or not sue, charge criminally the
 educator that right now it's very difficult. If one line changed in the legislation and guess what? Now, we
 can actually, parents say "Okay. If my kid has access to a book that has pornography, I can actually file a
 charge. I can go to the police station, and charges will be filed. If there are an educator by state law, they
 lose their license." That's up to them if they want to do.

 Female (01:01:26):
 One question.

 Andy Wells (01:01:26):
 Yes.

 Female (01:01:32):
 I just have to say that we have to really look at why not pornography, right? I work in the pornography
 recovery addiction area. It is highly addictive. That's why we don't want to give it to children. There are
 things that are released in our bodies, chemicals, dopamine that are released in our bodies when we
 read stuff like that. I work with men and women on a daily basis who are highly addicted to porn, and it
 is destroying their relationships. It's destroying their lives. When I talk with these individuals, it wasn't
 because their parents didn't teach them it was wrong. Their parents taught them, it was wrong. It's
 because they found it in schools. They found it with friends and they ... Pornography itself because it
 releases those chemicals, they start to wonder, am I gay? There's a lot of shame that's now developed.
 Pornography itself can cause a traumatic response.

 Female (01:02:25):
 That traumatic response now makes them ashamed to go to a parent and makes them ashamed to talk
 to anyone. They start to develop self hatred. And because of that trauma, they now go back to it, trying
 to recreate that trauma, figuring out why they're feeling the way they're feeling. Highly addictive. And
 pornography usually leads to affairs. It leads to other things because it's highly addictive and that
 dopamine rush is not enough. Now, they've got to do something and they've got to do more and do
 more. We have to understand that this is not about is pornography okay or not okay. It releases
 chemicals. We have restrictions on alcohol. We have restrictions on drugs for a reason. We don't let kids
 drive until they're 16 years old for a reason. You can't rent a car until you're 25 years old for a reason,
 because your prefrontal is not developed. Why not have restriction on a process addiction that releases
 chemicals? We have to understand the chemicals behind this. We have to understand why. If we don't
 do that, we're not being good parents. We have to understand this.

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 Male (01:03:33):
 That's natural. She said it.

 Female (01:03:33):
 Yes.

 Male (01:03:33):
 That's it.

 Male (01:03:35):
 I have one question for you about the teachers. You just mentioned, you're looking at a way to maybe
 charge teachers who-

 Andy Wells (01:03:53):
 Well, I don't want to, and that's what I'm trying to do-

 Male (01:03:56):
 [inaudible 01:03:56] so that's why I'm asking. Are the teachers the last line of defense and are they-

 Andy Wells (01:04:01):
 And that's the question. That is the legal question that we're having right now. That's the discussion I'm
 having with the senators and the reps right now.

 Female (01:04:11):
 In the Nixa policy-

 Male (01:04:12):
 Can I ask some more about that?

 Female (01:04:13):
 Yes, sorry.

 Male (01:04:15):
 These books that are distributed to the kids from the assignments say sixth grade or whatever, is every
 teacher in sixth grade given the same list of books to recommend their students?

 Female (01:04:25):
 Sometimes yes, sometimes no. Oftentimes, there'll be a list, a recommended reading list. If a parent
 doesn't want their child to read from that list, they will more often than not offer them an option.
 Except we don't get that list.

 Female (01:04:39):
 Correct.


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 Female (01:04:40):
 We don't get that list.

 Female (01:04:42):
 It depend on the teacher.

 Female (01:04:43):
 I get it.

 Female (01:04:43):
 It depends on the teacher.

 Female (01:04:43):
 All you have to do is ask.

 Female (01:04:45):
 Is this in Nixa that they're doing this?

 Female (01:04:48):
 Look it up yourself, right?

 Female (01:04:49):
 Right?

 Female (01:04:49):
 In the Nixa's policy though, it was ambiguous as to where the ultimate authority lied on removal even
 before the challenge process. The administration is reaching out to the Missouri School Board
 Association, Legal Counsel. We haven't heard back the answer to understand does the administration
 and/or teachers have the authority to just at least through this process remove them.

 Female (01:05:19):
 To her point there isn't always a list that goes home. My child brought home a list home. I'm going to
 help her because I agree.

 Female (01:05:26):
 But you can ask. And you'll get it.

 Female (01:05:30):
 Nobody's talking to you right now.

 Female (01:05:31):
 Okay.



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 Female (01:05:33):
 My child brought home a book.

 Female (01:05:37):
 She thinks she's better than me.

 Female (01:05:37):
 It was recommended by the librarian.

 Female (01:05:39):
 I know. Isn't it ridiculous?

 Female (01:05:40):
 By the librarian and the teacher for my child to bring home.

 Female (01:05:44):
 I'm sorry. [crosstalk 01:05:44].

 Female (01:05:44):
 There was no list. They were just told to go in and pick a book out for a book talk assignment. There is
 no list there. That is open to them to go get whatever they want. There isn't always a list provided.

 Female (01:05:57):
 No there's not. Sometimes there's like a Mark Twain reading list, for example, or different
 recommended. There's a Dogwood titles reading list. I wouldn't let my daughter read on some of those.

 Female (01:06:07):
 Right. Well, she didn't read it because I caught it. But the point is there is not always a list that goes
 home or is provided that, "Here's a list of books that your kids are going to pick." Mine wasn't open. She
 could pick any book out of that library.

 Female (01:06:20):
 Yes.

 Female (01:06:21):
 There isn't always a list provided.

 Female (01:06:23):
 In particular, I found a book in my son's book bag. And I decided, oh, "Let's look through the book." I
 started looking through it. I found porn, blow jobs, and murder, telling somebody-

 Female (01:06:41):
 [inaudible 01:06:41]


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 Female (01:06:41):
 Before, yeah. And statements about killing someone in their sleep and cutting their dick off. It goes on
 and on.

 Male (01:06:55):
 What grade is it? What grade is it?

 Female (01:06:56):
 Ninth grade. I go to the school with this book and I say, "How did my ..." Actually, first I contacted the
 teacher. "Is this a book," and I just gave the title, "that was assigned to my son for homework?" She said,
 "No, he could pick it. We had an open book read, blah, blah, blah." Anyway, long story short.

 Female (01:07:19):
 Did he read from that book in class? Did he get it from the library?

 Female (01:07:23):
 He got it from the library. I talked to the principal. They backed up the whole Pulitzer or whatever, all
 their awards that get in here. All they do is read a synopsis. I printed off those pages and handed it to
 the principal when he sat down and I said, "Read this out loud." He wouldn't do it. I said, "But yet, you
 feel it's okay to hand that book to my child to read." Long story short, when I talked to the teacher, the
 teacher said, "There's over 250 books he can choose from. The librarians put certain books in caps
 where kids could choose." I said, "Dylan, how'd you hear about this book? Why did you pick this book?"
 He said, "It was sitting on the shelf. Most of them were gone. That's all that was left, so I grabbed it."
 And no, no list came home and no, the teacher could not provide me with a list of books.

 Male (01:08:26):
 What book was that?

 Female (01:08:27):
 I can get it to you at the end.

 Moderator (01:08:28):
 Are there any other questions?

 Male (01:08:33):
 Can I add something about, what she said was perfect. It is important that you bring in natural law. It's
 really important that everybody understands it because natural law actually proves God. It proves that
 there's a need to follow His rules. It proves that if you take a boy with another boy, it's not going to
 produce human. If the human population dies off, that's actually a problem. If people are concerned
 about their social security, it's going to be a problem because we're not procreating enough.

 Female (01:09:12):
 [crosstalk 01:09:12] overpopulate, what is he getting at?



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 Male (01:09:17):
 [crosstalk 01:09:17] if they chance the social [inaudible 01:09:18], if we change from doing what we've
 done in the past to some new flow of idea.

 Female (01:09:23):
 Homosexuality [crosstalk 01:09:24].

 Male (01:09:24):
 It will change to somebody's new found idea. We stop doing what we're doing. We're going against
 natural law.

 Female (01:09:33):
 I appreciate your input. I think at the end of the day, I just want to reiterate it's all about where are our
 standards and Nixa has so many people. You, yourself included, you said before the meeting, moved to
 Nixa because of the school district. At the end of the day, we have to uphold those same standards of
 excellence that we require on the field, that we push our kids in the classrooms, in the library too,
 because those are materials that we're handing out and we're giving as educational learning materials.
 So why wouldn't we hold those same standards there? That's all we're saying.

 Female (01:10:06):
 If you guys have any other suggestions on how to best go about this or if you're in agreement with some
 of the reading standards, please send us an email to that Concerned Parents of Nixa group. Then, we can
 take that into consideration and work with the administration. Ideally, we'd love to work with the
 libraries to not be in the same position next next year. Maybe there's a whole community of people that
 work together and say, "These are the kind of books that I would like to see on the shelves," or "These
 are the kind of books that we should probably keep out," or restrict or whatever.

 Female (01:10:35):
 I wonder when are the school board meetings with Nixa?

 Female (01:10:39):
 There are the third Thursday of every month at 6:30 at the Faught Center, right behind the Faught
 Center, in the Early Education room, 6:30, third Thursday of every month.

 Female (01:10:52):
 Has your group brought one before the school board?

 Female (01:10:55):
 No, because this whole time before it was made public by another entity, we were trying to keep this
 behind the scenes and work with the administration and the librarians. But then, it was made public by
 the other groups.

 Female (01:11:08):
 Why would you want to keep it behind the scenes? Curious, not trying to be confrontational.


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 Female (01:11:13):
 Because we wanted to give them the opportunity to say, "Hey, we're going to remove these books," or
 "Here's why we're keeping these books," versus like broadcast it in this format, right?

 Female (01:11:24):
 So, it's because you didn't like the response then you decided, and this sounds snotty, but it's not, I
 swear. So, then you made it bigger because you didn't like the response?

 Female (01:11:36):
 From my understanding, it was the librarian that made a big deal out of it. Then this is more of a, Hey,
 an educational portion of why you did it and where you stand. It wasn't this group that made a big deal
 out of it. It was the representative theoretically from.

 Male (01:11:50):
 Even if it is, what's wrong with that? You do it [crosstalk 01:11:54].

 Female (01:11:54):
 Even if what is what?

 Male (01:11:55):
 If she doesn't like something, why isn't she entitled the right to [crosstalk 01:11:59].

 Female (01:11:58):
 She is. I didn't say she wasn't.

 Male (01:12:00):
 But you did.

 Female (01:12:01):
 No, I did not. I asked. I didn't say that.

 Female (01:12:03):
 All right.

 Moderator (01:12:08):
 Okay. Let's try to work with this. That was our first approach. That was what we were trying to do. Like
 said, we were trying to educate and inform.

 Female (01:12:18):
 That answers my question. That's all you.

 Moderator (01:12:26):



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 Can you guys do me a favor? Okay. I didn't mention this. I forgot. We just kind of got [inaudible
 01:12:29]. But we have school board campaigns that are going on. If you would like to be a part of that,
 we have great candidates that are going to step above and beyond the status quo. They are going to ask
 a tough question and understand why all of this stuff is trying to come into the district and not just take
 federal dollars just to be taking federal dollars, regardless of what [inaudible 01:12:54].

 Female (01:12:54):
 [inaudible 01:12:54].

 Moderator (01:12:54):
 We need help. Boots on the ground, people making phone calls. If you want to do anything like that,
 please sign up on the clipboard. If you just want to stay up to date with what's going on, sign up on the
 clipboard and we'll keep you informed. Thank you guys.

 Female (01:13:14):
 But you understand asking the question?

 Female (01:13:15):
 I kind of did. Are you in a time crunch?

 Female (01:13:17):
 No.

 Female (01:13:18):
 I wanted to confront her and saying, I don't even know if I should start, but how she said the [crosstalk
 01:13:23]. Okay. Did the [crosstalk 01:13:34].

 Female (01:13:33):
 I've never heard of it implementing reset rooms in the general classroom. I've only heard of reset rooms
 being implemented in Special Education setting where kids are having full meltdown.

 Female (01:13:45):
 Yeah. But how would that every-

 Female (01:13:46):
 I've never heard of-

 Female (01:13:46):
 I didn't like, "Hey, thanks for coming and expressing your opinion."

 Female (01:13:50):
 Okay.

 Female (01:13:52):

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 That's what's great about America, isn't it?

 Female (01:13:54):
 Yeah. I guess. I didn't like that she moved to [crosstalk 01:14:00] though.

 Female (01:14:02):
 Just a couple of people, just like anybody else in any area or setting, there's always going to be [crosstalk
 01:14:08].

 Female (01:14:10):
 Yeah.

 Female (01:14:12):
 The emotions are high because [crosstalk 01:14:14].

 Female (01:14:14):
 I get it, I get it.

 Female (01:14:18):
 But thank you for coming.

 Female (01:14:18):
 Okay.

 Female (01:14:19):
 And for giving another side. It's always good to have, at least to hear somebody else's perspective.

 Female (01:14:25):
 Yeah, I agree.

 Female (01:14:25):
 It's hard to keep emotions low. You're kind like being attacked from all corners. We all just have a
 different set of opinions. We really do.

 Female (01:14:31):
 No, but I disagree with the [crosstalk 01:14:44].

 Female (01:14:44):
 Yeah. There's definitely some things that [crosstalk 01:14:44].

 Female (01:14:44):
 You know, like kids that rape other kids.



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 Female (01:14:44):
 It was definitely the way it was presented to me, personally from the [crosstalk 01:14:51].

 Female (01:14:51):
 [crosstalk 01:14:51] the exposure from the [crosstalk 01:14:52]. I don't know what you're trying to
 [crosstalk 01:14:54].

 Female (01:14:52):
 Jennifer's trying to say something.

 Moderator (01:14:52):
 One more thing.

 Female (01:14:52):
 What's going on? Hold on.

 Moderator (01:14:56):
 There's forms in the back. Like I said, there's flyers you can take with you. One is going to tell you our
 contact information and ways to get involved. Then also, the books are all back there if you want to
 check in them out for yourself. Then, I have short, little flyers if we want to take one or two with you and
 maybe give one to a friend or take pictures, so that people know what it is. Okay. That's it. Thank you.

 Female (01:15:22):
 [crosstalk 01:15:22].

 Female (01:15:28):
 Oh, I know. Those are like-

 Female (01:15:29):
 [crosstalk 01:15:29].

 Female (01:15:29):
 [crosstalk 01:15:29].

 Female (01:15:29):
 I don't know that I agree, all of them being [crosstalk 01:15:56].

 Female (01:15:57):
 [crosstalk 01:15:57].

 Female (01:15:58):
 [crosstalk 01:15:58] parts of the book.



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 Female (01:15:58):
 [crosstalk 01:15:58].

 Female (01:15:58):
 [crosstalk 01:15:58] if we're just picking it to do like one portion, because books are inherently more
 descriptive than TV shows. But as an educator myself, sitting in high school classroom, I can tell you,
 [crosstalk 01:16:12] kids are talking about Euphoria. They're talking about the show Euphoria right now.

 Female (01:16:15):
 That is what the kids [crosstalk 01:16:17].

 Female (01:16:19):
 I only know about it because I hear them. [crosstalk 01:16:23].

 Female (01:16:27):
 [crosstalk 01:16:27]

 Female (01:16:39):
 Okay. I don't know. I can only take their words. I don't know what [crosstalk 01:16:43].

 Female (01:16:43):
 I am an engineer.

 Female (01:16:48):
 [crosstalk 01:16:48].

 Female (01:16:49):
 [crosstalk 01:16:49] as an educator in this.

 Female (01:16:51):
 [crosstalk 01:16:51].

 Female (01:16:52):
 All I'm saying is that [crosstalk 01:16:53].

 Female (01:16:53):
 We're all same community. Our kids are all going to the same school. Of course, we all want the best for
 all of our kids.

 Female (01:17:03):
 [crosstalk 01:17:03].

 Female (01:17:06):


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 Parenting's hard, period.

 Female (01:17:10):
 [crosstalk 01:17:10].

 Female (01:17:10):
 That's the truth.

 Female (01:17:12):
 [crosstalk 01:17:12] to be proactive. I agree with the filter.

 Female (01:17:14):
 I have no problem with filter, but like that one, she said, it's really naive of me [crosstalk 01:17:21]
 sexually active 10 year olds. Because sadly, there are.

 Female (01:17:22):
 But my family has to have an assignment.

 Female (01:17:25):
 You're right, it doesn't. But-

 Female (01:17:26):
 No family should be assigned these books. These all should be ...

 Female (01:17:30):
 I agree with you.

 Female (01:17:32):
 Correct.

 Female (01:17:32):
 I agree with that. But I'm just kind of basically trying to link that to the point of like this committee's big
 point is we have to go to the lowest [crosstalk 01:17:40] right?

 Female (01:17:41):
 Oops.

 Female (01:17:41):
 Sadly, some 10 year olds [crosstalk 01:17:44].

 Female (01:17:43):
 Can I grab that?



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 Female (01:17:45):
 You're right. I agree, they shouldn't.

 Female (01:17:50):
 [crosstalk 01:17:50].

 Female (01:17:51):
 I agree. I would not.

 Female (01:17:53):
 [inaudible 01:17:53] that hotline back.

 Female (01:17:53):
 Yes.

 Female (01:17:54):
 Absolutely.

 Female (01:17:55):
 Okay. I actually work for CSS. I know that, but what I'm saying is I don't think it's harmful to say, "Hey, if
 you're sexually active, you should wash yourself." That's going to the lowest common denominator.

 Female (01:18:08):
 Oh, I'm sorry.

 Female (01:18:15):
 [crosstalk 01:18:15]

 Female (01:18:17):
 No, we don't agree with that at all.

 Female (01:18:21):
 [crosstalk 01:18:21].

 Female (01:18:21):
 Okay. Like I said, no. I don't that.

 Female (01:18:21):
 [crosstalk 01:18:21].

 Female (01:18:21):
 But to your point of the lowest common denominator.



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 Female (01:18:38):
 Right. [crosstalk 01:18:45].

 Female (01:18:38):
 Okay.

 Female (01:18:45):
 [crosstalk 01:18:45] agree to what you say. I wasn't trying to attack you or [crosstalk 01:18:50].

 Female (01:18:52):
 I appreciate that.

 Female (01:18:53):
 [crosstalk 01:18:53] telling you that you're better than me.

 Female (01:18:54):
 I appreciate that.

 Female (01:18:56):
 [crosstalk 01:18:56].

 Female (01:18:56):
 There was a lot of people mumbling very rude things while she was talking. Emotions were high. I get it.

 Female (01:19:02):
 [crosstalk 01:19:02].

 Female (01:19:02):
 [crosstalk 01:19:02] and not every time. As parents, we have the right to say, I don't want [crosstalk
 01:19:20].

 Female (01:19:20):
 I agree. Then, so what became of it?

 Female (01:19:24):
 [crosstalk 01:19:24] the parent underneath say [crosstalk 01:19:29].

 Female (01:19:32):
 [crosstalk 01:19:32].

 Female (01:19:56):
 [crosstalk 01:19:56] my sister and are married. These are really good, strong people. They don't shelter
 their daughter. Their oldest daughter is an actress [crosstalk 01:20:06] theater. I mean, they don't

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 shelter their kids. But it doesn't mean they want their children to be served these assignments for these
 advertisements in a public school setting.

 Female (01:20:21):
 Then also what really bothers me is I would be willing to bet [crosstalk 01:20:26].

 Female (01:20:29):
 [crosstalk 01:20:29].

 Female (01:20:29):
 [crosstalk 01:20:29] I wouldn't even say most, some of these parents who are against this, their kids
 have free access to Facebook, TikTok, Snapchat, anything where they can see way worse than what's in
 those books.

 Female (01:20:38):
 My sister kids do not.

 Female (01:20:38):
 I don't think that we should. I think we should [crosstalk 01:20:43] the kids. I think we should have
 textbooks.

 Female (01:20:46):
 Okay.

 Female (01:20:47):
 I mean, that's just, I'm old school.

 Female (01:20:49):
 I'm kind of old school.

 Female (01:20:49):
 Wouldn't it be much better when we had textbooks?

 Female (01:20:53):
 I kind of agree.

 Female (01:20:54):
 [crosstalk 01:20:54] the librarian for a public school, so.

 Female (01:21:02):
 [crosstalk 01:21:02].

 Female (01:21:02):


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 Yeah.

 Female (01:21:06):
 [crosstalk 01:21:06].

 Female (01:21:06):
 It always helps me to remember things better when I'm writing them down versus when I type them out
 because [crosstalk 01:21:11].

 Female (01:21:10):
 [crosstalk 01:21:10].

 Female (01:21:23):
 Oh, yeah. Yeah.

 Female (01:21:24):
 I hear [crosstalk 01:21:27].




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